                       IN THE UNITED STATES DISTRICT COURT FOR THE

                                  EASTERN DISTRICT OF VIRGINIA

                                           Alexandria Division

UNITED STATES OF AMERICA                              )
                                                      )
        v.                                            )      Case No. 1:22-mj-291
                                                      )
Marquies Whittico-Hill                                )
      a/k/a                                           )
Marques Whittico-Hill,                                )      UNDER SEAL
                                                      )
                                                      )
       Defendant.                                     )

                           AFFIDAVIT IN SUPPORT OF A
                    CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Jonathan Boller, being duly sworn, depose and state as follows:

                                        INTRODUCTION

       1.      I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and

Explosives (ATF). I am currently assigned to the ATF Washington Field Division NIBIN

Investigations Unit (“NIU”). I have been a Special Agent with ATF since August 2016. Prior to

being hired by ATF, I served as a law enforcement officer in various capacities since 2007. This

includes serving as a Special Agent with the United States Secret Service for approximately 2

years, where I received specialized training including certification in the Basic Investigation of

Computer and Electronic Crimes Program (BICEP). As a Special Agent with ATF, I am

authorized to investigate violations of the laws of the United States, and I have been involved

with numerous criminal investigations involving violations of federal law. I am a law

enforcement officer with authority to execute arrest and search warrants under the authority of

the United States. See 18 U.S.C. § 3051.



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       2.      As an ATF Special Agent, I have investigated and assisted in the investigation of

violations of federal law involving controlled substances and the unlawful use of firearms. Many

of these investigations led to the arrest and conviction of the individuals under investigation. In

the course of conducting these investigations, I have used many different investigative

techniques, including: interviewing and serving as the handler for informants and cooperating

sources; conducting physical surveillance; consensual monitoring and recording of both

telephonic and non-telephonic communications; analyzing telephone pen registers, caller

identification data, social media communication records, as well as other information stored

within cellular telephones and social media accounts; conducting court-authorized electronic

surveillance including the use of cellular phone technology, cellular towers, and the analysis of

historical cellular phone records for the purpose of determining the approximate location from

which a phone was used at the particular time or range of times. I have also received advanced

training including ATF’s Advanced Investigative Techniques class, Glock Armorer certification,

and the Basic level training through the Federal Bureau of Investigation Cellular Analysis

Survey Team.

       3.      The facts in this affidavit come from personal observations, my training and

experience, and information obtained from other law enforcement officers and witnesses. All

observations not personally made by me were relayed to me by individuals who made them or

are based on my review of reports, documents, and other evidence obtained during the

investigation. This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all my knowledge about this matter.

       4.      Based on my training and experience, I know that it is a violation of Title 18,

United States Code, Section 922(g)(1) for anyone who has been convicted of a crime punishable



                                                  2
by imprisonment exceeding one year to possess a firearm or ammunition. I submit this affidavit

in support of a criminal complaint and arrest warrant charging MARQUES WHITTICO-HILL

with possession of a firearm and ammunition by a prohibited person, in violation of Title 18,

United States Code, Section 922(g)(1).

                                   PRIOR FELONY CONVICTIONS

       5.      From examining certified court records, I am aware that MARQUES

WHITTICO-HILL a/k/a MARQUIES WHITTICO-HILL hereinafter WHITTICO-HILL, has

been convicted of at least two offenses for which the potential sentence exceeds one year of

incarceration. I have reviewed the identifiers for the person convicted of the below offenses and

confirmed that they match that of the person described below. On March 3, 2017, WHITTICO-

HILL was sentenced to 24 months incarceration and 3 years Supervised Release after entering a

guilty plea to Assault with a Dangerous Weapon (Knife) in case 2014 CF3 021096 in the

Superior Court of the District of Columbia. On this same date, WHITTICO-HILL was sentenced

in case number 2016 CF2 015640 in the Superior Court of the District of Columbia, having

entered a guilty plea to Unlawful Possession of a Firearm ( Crime of Violence) and was




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sentenced to 42 months incarceration and 3 years Supervised Release. Your affiant has included

copies of the Sentence of the Court for these matters below.




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6.




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               POSSESSION OF FIREARMS AND AMMUNITION ON JULY 31, 2022


       6.      On July 31, 2022, Marques WHITTICO-HILL and three associates entered Sharp

Shooters Indoor Range and Pro Shop in Lorton, Virginia, located within the Eastern District of

Virginia. At approximately 3:59:30 PM, WHITTICO-HILL approached the staff and initiated the

process to rent a firearm for use on Sharpshooters’ indoor shooting range.            At 16:04:41

WHITTICO-HILL (wearing a green, blue, and white track suit with black and blonde hair) can be

seen providing his identification card next to the register, to ” an employee of Sharpshooters, who

takes the identification card and manually enter the information from the ID into the computer.




       7.      At 16:07:49 the employee can be seen on the store’s surveillance footage providing

WHITTICO-HILL one of the store’s tablet computers so that he (WHITTICO-HILL) can complete

the store’s range use agreement. As part of the range use agreement, customers are required to

provide their name, date of birth, address, phone number, and email address. At approximately

16:10:26 WHITTICO-HILL submitted his range use agreement from the in-store tablet, providing

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his true name and date of birth, corroborating his identity. Shortly before the timestamp visible on

the range use agreement, at 16:10:14 WHITTICO-HILL can be seen handing the tablet to a female

he entered the store with, as seen below.




       8.      At approximately 16:10:23 the female can be seen on video surveillance pressing

on the tablet screen one last time before handing the tablet, received from WHITTICO-HILL, to

the employee. Your affiant notes this occurs approximately 3 seconds before the account creation

timestamp shown on the Range Use Agreement. At both this time and 16:10:26 no other customer

in the showroom can be seen holding a store-owned tablet computer.




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       9.      While WHITTICO-HILL was completing these tasks, employees of

Sharpshooters retrieved the Glock 19Gen 5 (5th generation) that WHITTICO-HILL requested.

The standard operating procedure requires the staff to retrieve the firearm and verify the

                                                 9
inventory number of the specific firearm that has been retrieved, a Glock 19 in this instance.

Once the inventory number is confirmed by an employee it is then entered into the store’s record

keeping system which will automatically add the serial number for the specific firearm rented

when the inventory number is entered (adding both to the receipt). The customer’s identification

will then be placed into an orange bucket where the rental firearm and ammunition will be placed

after the inventory number is verified. Each orange bucket is marked with a unique numeric

marking on the exterior. The orange bucket remains in the possession of the showroom staff

until it is physically brought into the Observation deck and given to a Range Safety Officer

(RSO). A copy of the receipt for WHITTICO-HILL’s rental of the Glock 19 and purchase of

ammunition is included below.




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       9.      The Observation Deck, where the Sharpshooters staff working in the showroom

bring rental firearms once the rental process is completed, is a room that contains positions for the

Range Safety Officer’s (RSO) to observe the shooting lanes. This room is also the location where

rental firearms are provided to the individuals who have rented them. Prior to the firearms being

provided, a Range Safety Officer opens the orange container, verifies that the driver’s license

within the container matches the individual requesting the firearm, and places the renters’ driver’s

license into a metal tray in the shooting lane where renter will be shooting on. The staff explained




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to your affiant that this procedure exists to ensure the store’s rental firearms are not removed from

the store by customers.


       10.     After entering the Observation Deck, WHITTICO-HILL and his associates speak

with the Range Safety Officers and complete the process described in paragraph 9. After

completing the process, WHITTICO-HILL departs the Observation Deck carrying an orange

plastic container and enters the shooting range.


       11.     At 16:29:27 WHITTICO-HILL is visible on Sharpshooters surveillance footage

standing in lane 12 holding an object that is consistent in appearance with a Glock 19. WHITTICO-

HILL then takes a shooting stance. WHITTICO-HILL’s upper body can then be seen rocking

backwards multiple times with a short pause in between, consistent with the appearance of a person

absorbing the recoil from firing a pistol. During this time the camera’s view of WHITTICO-

HILL’s hands is blocked by the ballistic barrier between shooting lanes. After finishing shooting,

WHITTICO-HILL steps backwards to a location where his hands can be seen. At that time, he can

be seen holding an object consistent with a Glock 19 in a two handed grip consistent with a grip

used to shoot a pistol. At 16:31:30 the pistol is visible in surveillance footage being held by

WHITTICO-HILL in his right hand. At that moment the pistol can be seen as having an orange

magazine floorplate and a white sticker on the forward portion of the grip. These are two features

that are unique to the rental firearms at Sharpshooters, illustrating that the pistol possessed by

WHITTICO-HILL was in fact a firearm rented from Sharpshooters.




                                                   12
13
       12.     After WHITTICO-HILL shoots several more rounds through the Glock 19 he

brings the paper target he had previously placed on the target system and sent down range back to

the shooting booth. At this point WHITTICO-HILL can been seen looking at the target and

seemingly expressing pride over the accuracy of his shooting to a colleague. WHITTICO-HILL

can then be seen activating the camera feature on his phone and taking an image of the target as

shown in the image below.




                                               14
       13.    At 16:38:06 WHITTICO-HILL is handed a firearm that had been rented by Hassan

Graves (one of the individuals with whom WHITTICO-HILL entered the shooting range and who

has been charged in Crim No. 1:22-cr-179 (TSE)). Specifically, the firearm given to WHITTICO-

HILL by Hassan Graves was a Glock model 23gen4 (4th generation) bearing serial number

BMTM478. At 16:37:54 WHITTICO-HILL’s hands can be seen to be empty as he enters booth


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13 (in which Graves had been shooting). WHITTICO-HILL then enters booth 13, picks up the

Glock 23 and fires multiple rounds. WHITTICO-HILL briefly turns around and holds the Glock

23 at an angle in which it can been seen on camera at 16:38:27. Images showing both events are

included below.




       14.      WHITTICO-HILL then returns to his booth and resumes shooting the Glock 23 he

rented before returning the rental firearm to the store and departing. At 17:24:44 on July 31, 2022,

WHITTICO-HILL can be seen on the store’s video surveillance exiting Sharpshooters.


                               IDENTIFICATION OF WHITTICO-HILL


       15.      After reviewing the above information provided during the firearm rental process

your affiant queried WHITTICO-HILL through law enforcement databases. Your affiant learned

the birthday of MARQUES WHITTICI-HILL. Your affiant also learned that on May 19, 2020,


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WHITTICO-HILL was arrested by the Metropolitan Police Department for the District of

Columbia, and he provided the same date of birth as that contained in the law enforcement

database. Additionally, on that same date, WHITTICO-HILL provided a Washington D.C.

address, and was booked under an MPD PDID (Police Department Identification Number), all of

which exactly match the information on the documents from the Superior Court of the District of

Columbia, as well as the documents from Sharpshooters on July 31, 2022. Your affiant has

included below a photograph taken of Marquis WHITTICO-HILL as part of the booking process

to serve as an exemplar of his likeness, as well as sample images taken from the surveillance

footage captured on July 31, 2022, at Sharpshooters. For these reasons, your affiant believes that

Marquis WHITTICO-HILL provided his true identification and provided his true name while

present at Sharpshooters on July 31, 2022.




                                               17
 Image taken May 2020




Image taken July 31, 2022




       18
16.    Your affiant knows that all the Glock pistols within the rental inventory of Sharpshooters

and all the ammunition sold at Sharpshooters are received from distributors located outside the

Commonwealth of Virginia, and thus the above-described firearm and ammunition has moved in

interstate commerce.

25.    Based on my training and experience, I know that the firearms possessed by WHITTICO-

HILL at Sharpshooters constitute firearms pursuant to Title 18, United States Code, Section

921(a)(3), and were also not manufactured in the Commonwealth of Virginia; therefore, these

firearms traveled in, and/or affected interstate commerce. I have also spoken with the management

of Sharpshooters Indoor Shooting range, which holds a Federal Firearms License, and confirmed

that both the Glock pistols within their rental inventory and all of the ammunition they sell are


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received in shipments from distributors outside the Commonwealth of Virginia; therefore, the

ammunition possessed by WHITTICO-HILL traveled in interstate commerce. I also know that the

ammunition possessed by WHITTICO-HILL constitutes ammunition pursuant to Title 18, United

States Code, Section 921(a)(17).

                                             CONCLUSION

       26.     Based upon the foregoing, I submit there is probable cause to believe that on or

about July 31, 2022, within the Eastern District of Virginia, MARQUIS WHITTICO-HILL did

knowingly possess firearms and ammunition, in and affecting commerce, knowing that he was

previously convicted of a crime punishable by imprisonment for a term exceeding one year, in

violation of 18 U.S.C. § 922(g)(1).




                                                          Respectfully submitted,
                                                                                Digitally signed by JONATHAN
                                                          JONATHAN BOLLER       BOLLER
                                                                                Date: 2022.10.21 08:52:02 -04'00'

                                                          Jonathan Boller
                                                          Special Agent
                                                          Bureau of Alcohol, Tobacco, Firearms and
                                                          Explosives


Subscribed and sworn to in accordance with
Fed. R. Crim. P. 4.1 by telephone on October 21, 2022:
                           Digitally signed by John F. Anderson
 John F. Anderson Date: 2022.10.21 12:04:45 -04'00'
_________________________________________
The Honorable John F. Anderson
United States Magistrate Judge




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